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775 786 7600

 

 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

ORK Ok Ok

IN RE: Lead Case No.: BK-19-50103-gs
(Chapter 7)
DORA DOG PROPERTIES, LLC

Jointly Administered with:
[_] AFFECTS THIS DEBTOR

 

 

 

 

 

19-50104-gs | Dog Blue Properties, LLC
[_.] AFFECTS DOG BLUE PROPERTIES, 19-50105-gs | Brandy Boy Properties, LLC
LLC 19-50106-gs | 475 Channel Road, LLC
19-50108-gs | Park Road, LLC
[.] AFFECTS BRANDY BOY 19-50109-gs | 140 Mason Circle, LLC

 

 

 

 

PROPERTIES, LLC

NOTICE OF SECOND EXTENDED BAR
[_] AFFECTS 475 CHANNEL ROAD, LLC DATE FOR FILING CLAIMS/

[] AFFECTS PARK ROAD, LLC INTERESTS

(] AFFECTS 140 MASON CIRCLE, LLC Hearing Date: N/A

Hearing Time:
AFFECTS ALL DEBTORS.
/

 

PLEASE TAKE NOTICE THAT on May 24, 2019, the Honorable Gary Spraker signed
an Order Approving Trustee’s Ex Parte Application for Order Extensions Claims/ Interests Bar
Date (Docket No. 801, in prior lead case 19-50102-gs) (“Bar Date Order’). The Bar Date Order
extended the claims/ interests bar date for non-governmental claims or interests to December 31,
2019, and for governmental units to March 1, 2020.

NOTICE IS GIVEN that the claims/ interests bar date for non-governmental claims or
interests is further extended from December 31, 2019 through January 31, 2020, and for

governmental units the claims bar date remains as March 1, 2020.

 
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DATED this 20 day of December, 2019.

HARRIS LAW PRACTICE LLC
STEPHEN R. HARRIS, ESQ.
/s/ Stephen R. Harris

 

Attorneys for Trustee

 
